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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                         CASE NO.:

      LUIS MCCARTHY,

             Plaintiff,

      vs.

      LIEBHERR-AMERICA, INC.,
      a Foreign Limited Partnership,

             Defendant.


                  COMPLAINT AND DEMAND FOR JURY TRIAL

            COMES NOW the Plaintiff, LUIS MCCARTHY (“Mr. McCarthy” or

     “Plaintiff”), by and through his undersigned counsel, and sues the Defendant,

     LIEBHERR-AMERICA, INC. (“LUS” or “Defendant”) and alleges the

     following:

            1.     Plaintiff brings these claims against Defendant for race

     discrimination and national origin discrimination in violation of Title VII of the

     Civil Rights Act (“Title VII”), and the Florida Civil Rights Act (“FCRA”), and

     for retaliation in violation of Florida’s Private Whistleblower Act (“FWA”).

     Plaintiff is seeking damages including back pay, front pay, compensatory

     damages, punitive damages, and his attorneys’ fees and costs.
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                JURISDICTION AND CONDITIONS PRECEDENT

           2.     This Court has original jurisdiction over Plaintiff’s Title VII claims

     as they arise under federal law, and the actions giving rise to this lawsuit

     occurred in Miami-Dade County, Florida.

           3.     This Court has supplemental jurisdiction over Plaintiff’s FCRA

     and FWA claims, as they arise out of the same set of operative facts and

     circumstances as his Title VII claims.

           4.     Plaintiff timely filed a Charge of Discrimination with the Equal

     Employment Opportunity Commission (“EEOC”) on or about July 16, 2020.

           5.     On or about March 16, 2021, Plaintiff received his Notice of

     Right to Sue from the EEOC.

           6.     Plaintiff timely files this lawsuit within the applicable period of

     limitations against Defendant and has complied with all administrative

     prerequisites.

           7.     All conditions precedent to this action have been satisfied and/or

     waived.

                                         VENUE

           8.     Venue is proper because Defendant conducts substantial business

     in Miami-Dade County, Florida, and Plaintiff worked for Defendant in Miami-

     Dade County, Florida, where the actions at issue took place.



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                                      PARTIES

           9.    Plaintiff, who is an adult Hispanic male of Honduran descent and

     is protected by Title VII/FCRA because:

                 a.     He suffered discrimination by Defendant on the basis

           of his race and suffered discrimination based on national origin;

           and

                 b.     He objected to the discrimination; and

                 c.     He suffered an adverse employment action and was

           subjected to an increasingly hostile work environment based on

           race and national origin, and his objections to the discrimination,

           including being terminated for same.

           10.   Defendant was at all material times an “employer” as defined by

     Title VII/FCRA, as it employed in excess of fifteen (15) employees.

           11.   Plaintiff was at all material times an “employee” of Defendant as

     defined by Title VII/FCRA.

           12.   Defendant is a foreign limited partnership that is registered to do

     business, and conducts business, in the state of Florida, including, among

     other places, Miami-Dade County, Florida.

           13.   At all times material hereto, Plaintiff was an “employee” within

     the meaning of the FWA.



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           14.    At all times material hereto, Defendant was Plaintiff’s

     “employer” within the meaning of the FWA.

           15.    Defendant, at all times material to this Complaint, employed ten

     (10) or more employees, and is therefore a covered employer as defined by

     the FWA.

           16.    Plaintiff contends that the theories of joint employment and/or

     joint enterprise coverage arise given the inseparable business relationship

     between LIEBHERR EXPORTS and LIEBHERR-AMERICA, INC.

                             GENERAL ALLEGATIONS

           17.    Mr. McCarthy worked for LUS as a Customer Service Manager,

     from February 29, 2016, until his termination on May 4, 2020.

           18.    During his time with LUS, Mr. McCarthy was an excellent

     employee, with no history of attendance, performance, or disciplinary issues.

           19.    Unfortunately, throughout his employment, Mr. McCarthy

     unearthed a pattern of unlawful and unethical business practices on behalf of

     LUS’ managers.

           20.    On top of that, during his tenure, LUS managers discriminated

     against our client by routinely making degrading comments about his race and

     national origin, while also and denying him opportunities due to these

     protected categories.



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            21.    On multiple occasions, Mr. McCarthy objected to the rampant

     and many-faceted illegal conduct at LUS, as well as the discrimination he

     endured at the hands of his superiors.

                                  FWA VIOLATIONS

            22.    Within months of beginning his employment at LUS, Mr.

     McCarthy noticed that his managers were hiding assets and failing to pay

     required taxes under Federal Law.

            23.    Specifically, LUS’ Switzerland-based sister company, Liebherr

     Exports (“LEX”), would purchase merchandise/parts from Austria and

     Germany and subsequently send the parts on consignment to a third-party

     seller, Dellfrio.

            24.    Dellfrio, based out of North Carolina, would then be in charge of

     selling the parts through a merchant portal.

            25.    Shockingly, however, despite Dellfrio’s efforts to forward the

     profit from these sales back to LEX, LEX refused payment for the parts

     Dellfrio had sold on LEX’s behalf, leaving LEX’s profits from these sales to

     sit within a Dellfrio-controlled bank account.

            26.    Such a scheme allowed LEX to keep a treasure trove of taxable

     income unaccounted in its internal books, thereby evading any tax

     implications arising from such income earned.



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           27.   This conduct is fraudulent and wholly unlawful under 26 U.S.C.

     § 7206.

           28.   As soon as our client discovered this, he reported the scheme and

     its legal implications to Head of Customer Service, Thomas Antl (“Mr. Antl”).

           29.   Shockingly, upon hearing our client’s serious objections, Mr.

     Antl turned a blind eye to same and continued to allow LEX to engage in this

     unlawful conduct.

           30.   Things took a turn for the worse when, in 2018, LUS’ parent

     company, Liebherr International (“LIN”), decided that the responsibility to

     furnish Dellfrio with parts will now rest with LUS, and by extension, Mr.

     McCarthy.

           31.   Unwilling to be a direct party to illegal activity, on January 15,

     2019, Mr. McCarthy sent an e-mail to his managers, including Divisional

     Director, Andreas Hansen (“Mr. Hansen”), Mr. Antl, and Executive, Thierry

     Pelherbe (“Mr. Pelherbe”), objecting to the tax implications of the business

     transactions between Dellfrio, LEX, and soon, LUS as well.

           32.   Despite voicing these serious concerns in writing, Mr.

     McCarthy’s managers refused to engage in any reasonable steps to ameliorate

     their unlawful conduct, or to prevent same from occurring in the future.

           33.   Anxious that his concerns were not being addressed, in May



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     2019, Mr. McCarthy reiterated his objections to Managing Accountant, Kim

     Rogar (“Ms. Rogar”), and Chief Financial Officer, Cherri Cooke (“Ms.

     Cooke”).

           34.     Notwithstanding our client’s objections, LUS and LEX

     management continued engaging in unlawful business practices.

           35.     Suddenly, in February 2020, in a desperate attempt to scapegoat

     Mr. McCarthy, Mr. Pelherbe began berating Mr. McCarthy, and blaming

     LUS’ legal and financial troubles on our client’s management skills.

           36.     Shocked, on March 19, 2020, Mr. McCarthy reached out to Mr.

     Antl, forwarding/renewing all of his previous objections, and alleging that he

     was being unjustly blamed for LUS’ troubles.

           37.     In doing so, Mr. McCarthy engaged in protected activity pursuant

     to the FWA.

           38.     Following this e-mail, Divisional Director, Alex Squarize (“Mr.

     Squarize”), retaliated against Mr. McCarthy by isolating him from

     management decisions and meetings in a clear effort to push him out of his

     employment in violation of the law.

           39.     As a result, Mr. McCarthy objected to LUS’ Human Resources

     (“HR”) department.

           40.     Unable to withstand Mr. Squarize’s retaliatory and unlawful



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     conduct any longer, on April 30, 2020, Mr. McCarthy once again objected to

     LUS’ HR Manager, Vicki Wishon (“Ms. Wishon”).

           41.    In response, on May 4, 2020, Ms. Wishon reached back out to

     our client to terminate him.

           42.    That day, she was accompanied on the call by Mr. Squarize, Mr.

     Pelherbe, and Mr. Antl.

           43.    LUS terminated Mr. McCarthy’s employment in retaliation for

     his objections to LUS’ and LEX’s violations of law.

           44.    Defendant did not have a legitimate, non-retaliatory reason for

     its adverse employment action(s) against Plaintiff.

           45.    Any reason provided by Defendant for its adverse employment

     action(s) against Plaintiff is a pretext and a cover-up for illegal retaliation.

           46.    The persons who castigated Mr. McCarthy for objecting to LUS’

     violations of law were decision-makers in terms of retaliating against Plaintiff

     by terminating his employment.

           47.    There is an extremely close temporal proximity/nexus between

     Plaintiff objections to the violations of law, or what Plaintiff reasonably

     believed to be violations of law, and his termination.

           48.    Plaintiff’s objections to the violations of law, or what Plaintiff

     reasonably believed to be violations of law, is considered protected activity



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     pursuant to Fla. Stat. § 448.102(3), and qualified Mr. McCarthy as a

     whistleblower under the law.

             49.   Under the FWA, an employer may not take any retaliatory

     personnel action against an employee because the employee objected to, or

     refused to participate in, any activity, policy, or practice of the employer

     which is in violation of a law, rule, or regulation. See Section 448.102(3),

     Florida Statutes.

                          TITLE VII / FCRA VIOLATIONS

             50.   Throughout Mr. McCarthy’s employment, LUS routinely denied

     promotions and lucrative employment opportunities to Hispanic employees,

     and employees of non-German and non-Brazilian nationality/ancestry.

             51.   For example, in August 2019, Mr. McCarthy applied for a

     Divisional Director position at LUS after giving over nearly four (4) years of

     loyal service to the company.

             52.   Despite his commitment and loyalty, LUS Managers did not

     afford Mr. McCarthy even the courtesy of an interview before passing him

     over and awarding the job to Mr. Squarize, a Brazilian employee with German

     ties.

             53.   When Mr. McCarthy asked why he had been unceremoniously

     excluded from the selection process, LUS Management informed him that he



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     was not qualified for the position, as he lacked “sales experience.”

           54.    However, this requirement wasn’t applied equally as Mr.

     Squarize, who had as much sales experience as Mr. McCarthy, was instantly

     installed as LUS’ new Division Director.

           55.    As if to leave no room to doubt the discriminatory animus borne

     against Hispanic employees at LUS, Mr. Squarize himself directly mocked

     our client’s last name, and feigned incredulity at the fact that a

     Honduran/Hispanic person could organically possess it.

           56.    These overt displays of discrimination were public, frequent, and

     constitute direct evidence of race/national origin discrimination in violation

     of Title VII/FCRA.

           57.    Mr. McCarthy refused to suffer this unlawful discrimination in

     silence so, throughout his employment, he objected numerous times to HR

     regarding the discriminatory comments he endured on a constant basis, yet

     nothing was ever done.

           58.    The last of his objections occurred less than a week before his

     termination, at the same time he renewed his objections to LUS’ unlawful

     practices.

           59.    Mr. McCarthy’s objections constituted protected activity

     pursuant to Title VII/FCRA.



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           60.    Title VII/FCRA prohibits race and national origin discrimination

     in the workplace.

           61.    Plaintiff’s termination constitutes an adverse action as defined by

     Title VII/FCRA.

           62.    Plaintiff suffered an adverse action as a result of his race and

     national origin.

           63.    Defendant does not have a non-discriminatory, non-retaliatory

     rationale for allowing and participating in the discrimination and termination

     suffered by Plaintiff.

           64.    Plaintiff’s termination was for pretextual and discriminatory

     reasons based on Plaintiff’s race and national origin

           65.    Plaintiff was treated in a disparate manner from his non-

     Hispanic/Honduran counterparts.

           66.    By reason of the foregoing, Defendant’s actions violated Title

     VII/FCRA.

           67.    Plaintiff suffered sufficiently severe and pervasive harassment to

     create an abusive working environment and, ultimately, termination, because of

     his race and national origin.

           68.    Any reason provided by Defendant for its actions is a pretext and

     cover-up for illegal discrimination.



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             69.   The temporal proximity between Plaintiff’s objections to what he

     reasonably perceived to be discrimination and his termination is sufficiently

     close to establish a temporal nexus between the two events.

             70.   Plaintiff has suffered damages as a result of Defendant’s illegal

     conduct towards him.

             71.   Plaintiff has retained the law firm of RICHARD CELLER

     LEGAL, P.A., to represent him in the litigation and has agreed to pay the firm

     a reasonable fee for its services.

                      COUNT I: DISCRIMINATION IN
            VIOLATION OF TITLE VII BASED ON NATIONAL ORIGIN

             72.   Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1, 2, 4-12, 16, 17, 19, 20, 49-70, of the Complaint as if fully set

     forth in this Count.

             73.   The acts of Defendant, by and through its agents and employees,

     violated Plaintiff’s rights against national origin discrimination under Title

     VII.

             74.   The discrimination to which Plaintiff was subjected was based

     on his national origin.

             75.   Defendant’s discriminatory comments and actions in failing to

     offer opportunities due to Plaintiff’s national origin provide direct evidence

     of its discriminatory motive to discriminate against Plaintiff. See, e.g.,


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     E.E.O.C. v. Beverage Canners, Inc., 897 F.2d 1067, 1068-69 (11th Cir. 1990).

           76.    National origin discrimination includes discrimination based on

     the place of origin of an individual’s ancestors, or because the individual

     possesses the physical, cultural, or linguistic characteristics of a national

     origin group. 29 C.F.R. § 1606.1; see also Salas v. Wis. Dep’t of Corr., 493

     F.3d 913 (7th Cir. 2007).

           77.    The conduct of Defendant and its agents and employees

     proximately, directly, and foreseeably injured Plaintiff, including, but not

     limited to, lost wages and benefits, future pecuniary losses, emotional pain

     and suffering, humiliation, inconvenience, mental anguish, loss of enjoyment

     of life, and other non-pecuniary losses.

           78.    Plaintiff has suffered damages as a result of Defendant’s illegal

     conduct toward him.

           79.    The conduct of Defendant was so willful, wanton, and in reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of

     punitive damages against Defendant, to deter it, and others, from such conduct

     in the future.

           80.    Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Title VII.

           81.    Plaintiff has no plain, adequate, or complete remedy at law for



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     the actions of Defendant, which have caused, and continue to cause,

     irreparable harm.

           WHEREFORE,             Plaintiff        demands    trial    by      jury,

     reemployment/reinstatement, back pay, lost wages, front pay if reinstatement

     and/or reemployment is not possible, compensatory damages, punitive

     damages, attorneys’ fees and costs, and any other relief this Court deems just

     and proper.

                    COUNT II: RETALIATION IN
         VIOLATION OF TITLE VII BASED ON NATIONAL ORIGIN

           82.     Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1, 2, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

           83.     The acts of Defendant by and through its agents and employees,

     violated Plaintiff’s rights against being retaliated against for opposing

     discrimination under Title VII of the Civil Rights Act of 1964, as amended.

     42 U.S.C. § 2000e, et seq.

           84.     The retaliation to which Plaintiff was subjected was based on his

     opposition to Defendant’s illegal and discriminatory actions based on his

     national origin.

           85.     Plaintiff’s termination was within close temporal proximity of

     his objections to Defendant that he felt he was being discriminated against


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     based on his national origin.

            86.   Plaintiff’s objections constituted protected activity under Title

     VII.

            87.   Plaintiff was terminated as a direct result of his objections to

     what he reasonably believed to be national origin discrimination.

            88.   Plaintiff’s objections to Defendant’s illegal conduct, and his

     termination, are causally related.

            89.   Defendant’s stated reasons for Plaintiff’s adverse employment

     action are a pretext.

            90.   The conduct of Defendant its agents and employees proximately,

     directly, and foreseeably injured Plaintiff, including, but not limited to, lost

     wages and benefits, future pecuniary losses, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and

     other non-pecuniary losses.

            91.   The conduct of Defendant was so willful and wanton, and in such

     reckless disregard of the statutory rights of Plaintiff, as to entitle him to an

     award of punitive damages against Defendant to deter it, and others, from such

     conduct in the future.

            92.   Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to 42 U.S.C. § 2000e-5(k).



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             93.   Plaintiff has no plain, adequate or complete remedy at law for the

     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

             WHEREFORE,            Plaintiff        demands     trial   by      jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court

     deems just and proper.

                  COUNT III: DISCRIMINATION IN
         VIOLATION OF THE FCRA BASED ON NATIONAL ORIGIN

             94.   Plaintiff realleges and re-adopts the allegations contained in

     paragraphs 1-3, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

             95.   The acts of Defendant, by and through its agents and employees,

     violated Plaintiff’s rights against national origin discrimination under the

     Florida Civil Rights Act, Chapter 760, Florida Statutes.

             96.   The discrimination to which Plaintiff was subjected was based

     on his national origin.

             97.   Defendant’s discriminatory comments and actions were

     egregious, and provide direct evidence of its discriminatory motive to

     discriminate against Plaintiff. See, e.g., E.E.O.C. v. Beverage Canners, Inc.,


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     897 F.2d 1067, 1068-69 (11th Cir. 1990).

           98.    National origin discrimination includes discrimination based on

     the place of origin of an individual’s ancestors, or because the individual

     possesses the physical, cultural, or linguistic characteristics of a national

     origin group. 29 C.F.R. § 1606.1; see also Salas v. Wis. Dep’t of Corr., 493

     F.3d 913 (7th Cir. 2007).

           99.    The conduct of Defendant and its agents and employees

     proximately, directly, and foreseeably injured Plaintiff, including, but not

     limited to, lost wages and benefits, future pecuniary losses, emotional pain

     and suffering, humiliation, inconvenience, mental anguish, loss of enjoyment

     of life, and other non-pecuniary losses.

           100. Plaintiff has suffered damages as a result of Defendant’s illegal

     conduct toward him.

           101. The conduct of Defendant was so willful, wanton, and in reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of

     punitive damages against Defendant, to deter it, and others, from such conduct

     in the future.

           102. Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Section 760.11(5), Florida Statutes.

            103. Plaintiff has no plain, adequate or complete remedy at law for the



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     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

             WHEREFORE,              Plaintiff        demands   trial   by    jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court

     deems just and proper.

                    COUNT IV: RETALIATION IN
         VIOLATION OF THE FCRA BASED ON NATIONAL ORIGIN

          104.    Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1-3, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

          105.    The acts of Defendant by and through its agents and employees,

     violated Plaintiff’s rights against being retaliated against for opposing

     discrimination under Section 760.10(7), Florida Statutes.

          106.    The retaliation to which Plaintiff was subjected was based on his

     opposition to Defendant’s illegal and discriminatory actions based on his

     national origin.

          107.    Plaintiff’s termination was within close temporal proximity of

     his objections to Defendant that he felt he was being discriminated against

     based on his national origin.


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          108.    Plaintiff’s objections constituted protected activity under the

     FCRA.

          109.    Plaintiff was terminated as a direct result of his objections to

     what he reasonably believed to be national origin discrimination.

          110.    Plaintiff’s objections to Defendant’s illegal conduct, and his

     termination, are causally related.

          111.    Defendant’s stated reasons for Plaintiff’s adverse employment

     action are a pretext.

          112.    The conduct of Defendant its agents and employees proximately,

     directly, and foreseeably injured Plaintiff, including, but not limited to, lost

     wages and benefits, future pecuniary losses, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and

     other non-pecuniary losses.

          113.    The conduct of Defendant was so willful and wanton, and in such

     reckless disregard of the statutory rights of Plaintiff, as to entitle him to an

     award of punitive damages against Defendant to deter it, and others, from such

     conduct in the future.

           114.   Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Section 760.11(5), Florida Statutes.

           115.   Plaintiff has no plain, adequate or complete remedy at law for the



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     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

     WHEREFORE,               Plaintiff     demands         trial      by       jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court

     deems just and proper.

                      COUNT V: DISCRIMINATION IN
                  VIOLATION OF TITLE VII BASED ON RACE

             116. Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1, 2, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

             117. The acts of Defendant, by and through its agents and employees,

     violated Plaintiff’s rights against race discrimination under Title VII.

             118. The discrimination/disparate treatment to which Plaintiff was

     subjected was based on his race.

             119. Defendant’s discriminatory comments and actions in failing to

     offer opportunities due to Plaintiff’s race provide direct evidence of its

     discriminatory motive to discriminate against Plaintiff. See, e.g., E.E.O.C. v.

     Beverage Canners, Inc., 897 F.2d 1067, 1068-69 (11th Cir. 1990).

             120. The conduct of Defendant and its agents and employees


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     proximately, directly, and foreseeably injured Plaintiff, including, but not

     limited to, lost wages and benefits, future pecuniary losses, emotional pain

     and suffering, humiliation, inconvenience, mental anguish, loss of enjoyment

     of life, and other non-pecuniary losses.

           121. Plaintiff has suffered damages as a result of Defendant’s illegal

     conduct toward him.

           122. The conduct of Defendant was so willful, wanton, and in reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of

     punitive damages against Defendant, to deter it, and others, from such conduct

     in the future.

           123. Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Title VII.

            124. Plaintiff has no plain, adequate, or complete remedy at law for

     the actions of Defendant, which have caused, and continue to cause,

     irreparable harm.

            WHEREFORE,            Plaintiff        demands    trial     by      jury,

     reemployment/reinstatement, back pay, lost wages, front pay if reinstatement

     and/or reemployment is not possible, compensatory damages, punitive

     damages, attorneys’ fees and costs, and any other relief this Court deems just

     and proper.



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                       COUNT VI: RETALIATION IN
                  VIOLATION OF TITLE VII BASED ON RACE

            125. Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1, 2, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

            126. The acts of Defendant by and through its agents and employees,

     violated Plaintiff’s rights against being retaliated against for opposing race

     discrimination under Title VII of the Civil Rights Act of 1964, as amended.

     42 U.S.C. § 2000e, et seq.

            127. The retaliation to which Plaintiff was subjected was based on his

     opposition to Defendant’s illegal and discriminatory actions based on his race.

            128. Plaintiff’s termination was within close temporal proximity of

     his objections to Defendant that he felt he was being discriminated against

     based on his race.

            129. Plaintiff’s objections constituted protected activity under Title

     VII.

            130. Plaintiff was terminated as a direct result of his objections to

     what he reasonably believed to be race discrimination.

            131. Plaintiff’s objections to Defendant’s illegal conduct, and his

     termination, are causally related.



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             132. Defendant’s stated reasons for Plaintiff’s adverse employment

     action are a pretext.

             133. The conduct of Defendant its agents and employees proximately,

     directly, and foreseeably injured Plaintiff, including, but not limited to, lost

     wages and benefits, future pecuniary losses, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and

     other non-pecuniary losses.

             134. The conduct of Defendant was so willful and wanton, and in such

     reckless disregard of the statutory rights of Plaintiff, as to entitle him to an

     award of punitive damages against Defendant to deter it, and others, from such

     conduct in the future.

             135. Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to 42 U.S.C. § 2000e-5(k).

             136. Plaintiff has no plain, adequate or complete remedy at law for the

     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

             WHEREFORE,            Plaintiff        demands    trial    by      jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court



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     deems just and proper.

                        COUNT VII: DISCRIMINATION IN
                    VIOLATION OF THE FCRA BASED ON RACE

           137. Plaintiff realleges and re-adopts the allegations contained in

     paragraphs 1-3, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.

           138. The acts of Defendant, by and through its agents and employees,

     violated Plaintiff’s rights against race discrimination under the Florida Civil

     Rights Act, Chapter 760, Florida Statutes.

           139. The discrimination to which Plaintiff was subjected was based

     on his race.

           140. Defendant’s discriminatory comments and actions were

     egregious and provide direct evidence of its discriminatory motive to

     discriminate against Plaintiff. See, e.g., E.E.O.C. v. Beverage Canners, Inc.,

     897 F.2d 1067, 1068-69 (11th Cir. 1990).

           141. The conduct of Defendant and its agents and employees

     proximately, directly, and foreseeably injured Plaintiff, including, but not

     limited to, lost wages and benefits, future pecuniary losses, emotional pain

     and suffering, humiliation, inconvenience, mental anguish, loss of enjoyment

     of life, and other non-pecuniary losses.

           142. Plaintiff has suffered damages as a result of Defendant’s illegal


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     conduct toward him.

             143. The conduct of Defendant was so willful, wanton, and in reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of

     punitive damages against Defendant, to deter it, and others, from such conduct

     in the future.

             144. Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Section 760.11(5), Florida Statutes.

             145. Plaintiff has no plain, adequate or complete remedy at law for the

     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

             WHEREFORE,            Plaintiff        demands   trial     by      jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court

     deems just and proper.


                       COUNT VIII: RETALIATION IN
                  VIOLATION OF THE FCRA BASED ON RACE

           146.    Plaintiff re-alleges and re-adopts the allegations contained in

     paragraphs 1-3, 4-12, 16, 17, 19, 20, 49-70 of the Complaint as if fully set

     forth in this Count.



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          147.    The acts of Defendant by and through its agents and employees,

     violated Plaintiff’s rights against being retaliated against for opposing

     discrimination under Section 760.10(7), Florida Statutes.

          148.    The retaliation to which Plaintiff was subjected was based on his

     opposition to Defendant’s illegal and discriminatory actions based on his race.

          149.    Plaintiff’s termination was within close temporal proximity of

     his objections to Defendant that he felt he was being discriminated against

     based on his race.

          150.    Plaintiff’s objections constituted protected activity under the

     FCRA.

          151.    Plaintiff was terminated as a direct result of his objections to

     what he reasonably believed to be race discrimination.

          152.    Plaintiff’s objections to Defendant’s illegal conduct, and his

     termination, are causally related.

          153.    Defendant’s stated reasons for Plaintiff’s adverse employment

     action are a pretext.

          154.    The conduct of Defendant its agents and employees proximately,

     directly, and foreseeably injured Plaintiff, including, but not limited to, lost

     wages and benefits, future pecuniary losses, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and



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     other non-pecuniary losses.

          155.     The conduct of Defendant was so willful and wanton, and in such

     reckless disregard of the statutory rights of Plaintiff, as to entitle him to an

     award of punitive damages against Defendant to deter it, and others, from such

     conduct in the future.

          156.     Plaintiff is entitled to recover reasonable attorneys’ fees and

     litigation expenses pursuant to Section 760.11(5), Florida Statutes.

          157.     Plaintiff has no plain, adequate or complete remedy at law for the

     actions of Defendant, which have caused, and continue to cause, irreparable

     harm.

             WHEREFORE,             Plaintiff        demands    trial     by      jury,

     reemployment/reinstatement, back pay, unpaid wages, front pay if

     reinstatement and/or reemployment is not possible, compensatory damages,

     punitive damages, attorneys’ fees and costs, and any other relief this Court

     deems just and proper.


                           COUNT IX
       FLORIDA’S PRIVATE WHISTLEBLOWER ACT – UNLAWFUL
                         RETALIATION

             158. Plaintiff realleges and incorporates all allegations contained within

     paragraphs 1-3, 8, 13-48 of the Complaint as if fully set forth herein.




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           159. On May 4, 2020, Defendant illegally terminated Plaintiff from his

     employment in violation of Section 448.102(2), Florida Statutes.

           160. Plaintiff was retaliated against and terminated in violation of

     Section 448.102(2), Florida Statutes, for providing information to an

     appropriate investigator concerning Defendant’s alleged violation of a law,

     rule, or regulation.

           161. Plaintiff provided information to an appropriate investigator

     concerning Defendant’s alleged violation of a law, rule, or regulation, and was

     terminated as a direct result of same, which constitutes a violation of the FWA.

           162. As a result of Defendant’s intentional, willful and unlawful

     actions, Plaintiff has suffered damages, including, but not limited to, lost wages,

     lost benefits, lost employment status, as well as humiliation, pain and suffering,

     and other monetary and non-monetary losses.

           WHEREFORE, Plaintiff requests a judgment in his favor and against

     Defendant for her actual and compensatory damages, including, but not limited

     to, front pay, back pay, and emotional distress damages, as well as his costs and

     attorneys’ fees, declaratory and injunctive relief, and such other and further

     relief as is deemed proper by this Court.

                               JURY TRIAL DEMAND

           Plaintiff demands a trial by jury on all issues so triable.



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     Respectfully submitted this 17th day of June 2021.

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